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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 Ana L. Dionicio, and Alejandro M. Wesaw,
 individually and as representatives of a class          No. 23-cv-26 (PJS/DLM)
 of participants and beneficiaries of the U.S.
 Bank 401(k) Savings Plan,
                                                        ESI PROTOCOL ORDER
                       Plaintiffs,

 v.

 U.S. Bancorp, Board of Directors of U.S.
 Bancorp, U.S. Bancorp’s Benefits
 Administration Committee, and U.S.
 Bancorp’s Investment Committee,

                        Defendants.


       Upon consideration of the parties’ Stipulation Regarding Discovery of

Electronically Stored Information (Doc. 82),

       IT IS HEREBY ORDERED THAT:

       The following specifications shall govern discovery of all documents,

electronically stored information (“ESI”), and any other materials and information

produced by the Parties during discovery in the above-captioned action.

I.     General

       A.      The Parties shall take reasonable steps to comply with the procedures set

forth in this Stipulation.
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       B.     The terms of this Stipulation shall be construed to ensure the exchange of

information consistent with the Federal Rules of Civil Procedure, the Local Rules, and

any orders by this Court.

       C.     Except as specifically limited herein, this Stipulation governs the

production of discoverable documents by the Parties during the litigation. In the event of

transfer to other courts, this Stipulation will remain in effect in all respects, until adopted

by the transferee court or replaced by a successor agreement. This Stipulation shall not

enlarge, reduce, or otherwise affect the scope of discovery in this litigation as imposed by

the Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders, nor imply

that discovery produced under the terms of this Stipulation is properly discoverable,

relevant, or admissible in this or in any other litigation. Subject to this Stipulation, the

Parties’ objections and responses to requests for production of documents and

interrogatories, and subject to a binding Protective Order (“Protective Order”), all

documents that are responsive to discovery requests and not designated as “privileged”

shall be produced in the manner provided herein. Nothing in this Stipulation shall be

interpreted to require disclosure of materials that a Party contends are not discoverable or

are protected from disclosure by the attorney-client privilege, the attorney work product

doctrine, or any other privilege that may be applicable. Additionally, nothing in this

Stipulation shall be deemed to waive or limit any Party’s right to object to the production

of certain ESI or to move for an appropriate order pursuant to the Federal Rules of Civil

Procedure on the ground that the sources are not reasonably accessible because of undue

burden or cost or on the ground that there is good cause for the document’s production.


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       D.     The Parties agree to promptly alert all other Parties concerning any

technical problems associated with complying with this Stipulation. To the extent

compliance with this Stipulation imposes an undue burden with respect to any protocol,

source, or search term listed herein, the Parties shall promptly confer to resolve the issue.

       E.     Consistent with their obligations under applicable Federal Rules of Civil

Procedure and Local Rule 7.1(a)(1), the Parties will attempt to resolve, in person, in

writing (including e-mail) or by telephone, disputes regarding the issues set forth herein

prior to filing a motion with the Court, or otherwise seeking relief. If the Parties are

unable to resolve the dispute after a good faith effort, the Parties may seek Court

intervention in accordance with the Court’s procedures.

II.    Production Format – Hardcopy

       Hardcopy documents should be scanned as a PDF format or single-page, Group

IV, 300 DPI TIFF images with an .opt image cross-reference file and a delimited

database load file (i.e., .dat). The database load file should, at minimum, contain the

following fields: “BEGBATES,” “ENDBATES,” “BEGBATESATTACH,”

“ENDBATESATTACH,” “PAGES” and “CUSTODIAN.” The Parties should produce

additional fields that are readily available but shall not be required to incur costs to

perform objective coding or other manual creation of fields not present in the original

documents. The documents should be logically unitized (i.e., distinct documents should

not be merged into a single record, and a single document should not be split into

multiple records) and should be produced in the order in which they are kept in the usual

course of business. If an original document contains relevant information in color


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necessary to understand the meaning or content of the document, the document should be

produced as single-page, 300 DPI with a minimum quality level of 75, 24-bit, color JPG

images. To the extent that the Producing Party OCR’s the document for its own benefit,

OCR should also be provided. The OCR software should maximize text quality over

process speed. Settings such as “auto-skewing” and “auto-rotation” should be turned on

during the OCR process.

III.   Production Format – ESI

        The following section governs the production of electronically stored

information, unless expressly provided for in another section of this Stipulation, the

Parties agree in advance and in writing, or if this Stipulation is modified by the Court.

       A.     File Types and Formats. All spreadsheet (e.g., Microsoft Excel, Corel

Quatrro, etc.) files shall be produced as native files with TIFF placeholder images.

Except as otherwise stated herein, all unredacted presentations (e.g., Microsoft

PowerPoint, Google Slides, etc.), audio (e.g., .mp3, .mp4, .wav, etc.), and video (e.g.,

.wvm, .m4v, etc.), shall be produced as native files with TIFF placeholder images, but

must be produced so that comments and tracked changes, if any, are visible. Emails shall

be produced as TIFFs. The Parties will meet and confer on the production of other file

types, such as CAD drawings, structured databases (see VI below). In advance of

depositions, the Parties reserve the right to produce TIFF versions of any previously

produced native files at their discretion.

       B.     TIFF Images: ESI should be produced as single-page, Group IV, 300 DPI

TIFF images except for those documents detailed in Section III(A). Any document


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produced as TIFF images shall be named according to the Bates number of the

corresponding TIFF image. Each .tiff file should be assigned a unique name matching

the Bates number of the corresponding image. Bates numbers and confidentiality

designations, if applicable, should be electronically branded on each produced .tiff

image. These TIFF images should be provided in a separate folder and the number of

TIFF files per folder should be limited to 1,000 files.

       TIFF images should show any and all text and images which would be visible to

the reader using the native software that created the document. For example, TIFF

images of e-mail messages should include the BCC line. PowerPoint documents, which

contain redactions, should be processed with hidden slides and all speaker notes

unhidden, and should be processed to show both the slide and the speaker’s notes on the

TIFF/JPG image. Color originals may be produced in B&W TIFF format, but either

Party may subsequently request, by Bates number(s), a replacement set of images in

color only to the extent that the Requesting Party demonstrates that the loss of the color

detracts from the usability or reduces the ability to understand the information imparted

in the original, however categorical or wholesale requests are deemed invalid.

       C.     Parent-Child Relationships. Unless otherwise addressed in this Stipulation,

for email families, the parent-child relationships (the association between emails and

attachments) should be preserved. Email attachments should be consecutively produced

with parent email record.

       D.     Load File Formats and Metadata to Be Produced: All ESI should be

produced with a delimited, database load file (i.e., .dat) that contains the metadata fields


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listed in Appendix 1, attached hereto, to the extent captured at the time of the collection.

The database load file shall be provided with UTF-8 encoding. To the extent that

metadata does not exist, is not reasonably accessible or available for any documents

produced, or would be overly burdensome to provide, nothing in this Stipulation shall

require any Party to extract, capture, collect or produce such data. An .opt image cross-

reference file should also be provided for all TIFF images.

       E.     Native Files: If a document is produced in native format, a single-page

Bates-stamped TIFF image slip-sheet containing the confidential designation and text

stating the document has been produced in native format should also be provided. Each

native file should be named according to the Bates number it has been assigned and

should be linked directly to its corresponding record in the load file using the

NATIVELINK field. To the extent that it is available, the original document text shall be

provided in a document level multi-page UTF-8 with BOM text file with a text path

provided in the .dat file; otherwise text contained on the slipsheet shall be provided in

the .txt file with the text path provided in the.dat file. Native files will be produced in a

separate folder for the production.

       If documents requested in native format require redactions, the Parties should

meet and confer regarding how to implement redactions while ensuring that proper

formatting and usability are maintained. To the extent that either Party believes that

native files should be produced for a specific document or class of documents not

required to be produced in native format pursuant to this paragraph or to the extent




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records do not easily conform to native or TIFF format (i.e., structured data), the Parties

should meet and confer in good faith.

       F.     Extracted Text and OCR. Each document, whether produced in Native or

TIFF format, and whether originally existing in electronic or in hard copy (see Section II

supra), shall be produced with extracted text or OCR, as described herein.

              1.     Extracted Text (Emails, Unredacted Native ESI, and Redacted

Spreadsheets). All email, un-redacted ESI, and redacted spreadsheets produced as native

files should be provided with complete document-level extracted text files. Extracted

text shall include all comments, revisions, tracked changes, speaker’s notes and text

from documents with comments or tracked changes, and hidden and very hidden

worksheets, slides, columns and rows. Text extracted from emails shall include all

header information that would be visible if the email was viewed in Outlook including:

(1) the individuals to whom the communication was directed (“To”), (2) the author of

the email communication (“From”), (3) who was copied and blind copied on such email

(“CC” and “BCC”), (4) the subject line of the email (“RE” or “Subject”), (5) the date

and time of the email, and (6) the names of any attachments. Text must be extracted in

its intended order (for example, text from PDFs with two columns should be extracted

from the first column before moving on the second column, rather than extracting text

from the top line across both columns, etc.).

              2.     Format of Extracted Text and OCR. The extracted full text and/or

OCR text for all deliverables should be in separate document-level, UTF-8 with BOM




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encoded TXT files provided in a separate folder. The number of TXT files per folder

should be limited to 1,000 files.

       G.     Limited Informal Electronic Collection. Defendants may collect and

produce certain categories of documents utilizing informal collection methods even

though such collection method may alter certain aspects of those files’ metadata as they

exist at the time of collection (e.g., created date, file path). To the extent that Plaintiffs

believe that the metadata related to any such document is relevant to this Action, the

Parties agree to meet and confer to discuss an efficient means of providing the necessary

information to Plaintiffs.

IV.    Previously Collected and Produced Data

       The Parties agree that this Stipulation does not create an obligation to recollect or

reproduce any prior collections or productions collected or produced prior to the entry of

this ESI Stipulation. This includes not requiring either Party to reproduce productions in

the production format outlined in this ESI Stipulation.

V.     Production – Handling Completely Non-Responsive Documents Attached to
       Production-Eligible Documents

       In an effort to avoid unnecessary expense and burden, the Parties agree that

completely non-responsive documents attached to an otherwise production-eligible

document can be produced as a single-page Bates-stamped TIFF image slip-sheet

containing the text stating the document has been withheld as non-responsive. For all

attachments withheld as non-responsive, the Producing Party agrees to produce as part of

the metadata load files the ESI metadata listed in Appendix A (with the exception of



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text). When producing responsive attachments, the parent email will be produced,

regardless of responsiveness unless otherwise protected from disclosure.

VI.    Production – Receipt and Storage of Protected Material

       The recipient of any Protected Material that is provided under this Stipulation shall

maintain such information in a reasonably secure and safe manner that ensures access is

limited to the persons authorized herein, and shall further exercise the same standard of

due and proper care with respect to the storage, custody, use, and/or dissemination of

such information as the recipient would use with respect to its own proprietary

information.

       If the recipient discovers any loss of Protected Material or a breach of security,

including any actual or suspected unauthorized access, relating to the produced Protected

Material, the Receiving Party shall:

       A.      Promptly provide written notice to Producing Party of such breach within a

reasonable time of the breach discovery.

       B.      Investigate and make reasonable efforts to remediate the effects of the

breach and provide Producing Party with assurances that safeguards are being

implemented to ensure another breach does not occur.

       C.      Provide sufficient information about the breach that the Producing Party

can reasonably ascertain the size and scope of the breach. The Requesting Party agrees to

cooperate with the Producing Party or law enforcement in investigating any such security

incident.




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       D.     The Requesting Party shall promptly take all necessary and appropriate

corrective action to terminate the unauthorized access and/or correct the breach.

VII.   Production Format - Structured Data

       If a Party is producing electronic information from a database that cannot be

provided in a readily accessible production format (e.g., as an Excel file), the Parties will

meet and confer in advance of that production to discuss the most appropriate and cost-

effective production format, which may include an export of data. The Parties will

reasonably cooperate in the exchange of information concerning such databases to

facilitate discussions on productions and production format. If the Parties cannot reach

agreement, the Parties may refer the matter to the Court or its designee.

VIII. Production Format – Social Media

       If a Party is producing electronic information from social media websites (e.g.,

LinkedIn, Facebook, Twitter), the Parties will meet and confer in advance of that

production to discuss the most appropriate and cost-effective production format.

IX.    Production Format - Media

       Documents shall be exchanged on secure file transfer protocols (e.g., FTP) or

similar secure electronic transmission. The production media shall be labeled with the

Volume Number along with the Bates Number range(s) of the materials, and where not

practicable to do so, may be provided in an accompanying letter.

X.     Processing and Other Specifications

       A.     Bates Numbering and Confidentiality Designations: Each page of a

produced image shall have a legible, unique Bates number that includes an alpha prefix


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along with a fixed number, e.g., ABC00000001, electronically “burned” onto the image

at the bottom of the page so as not to unreasonably obscure any information from the

source document. Each image page or native file assigned a Bates number shall be

assigned a Bates number that is unique and maintains a constant length across the entire

document production. No other legend or stamp will be placed on the document image

other than confidentiality legends (where applicable) or redactions.

       B.      ESI Date and Time Processing: Each Party’s ESI should be processed using

a consistent Time Zone for all data. The Party shall share the Time Zone selected for

processing of its data with the other Party.

       C.      Global or Horizontal Deduplication: Removal of duplicate documents

should only be done on exact duplicate documents (based on MD5 or SHA-1 hash values,

at the family level). Attachments should not be eliminated as duplicates for purposes of

production, unless the parent e-mail and all attachments are also duplicates. An email that

includes content in the BCC or other blind copy field should not be treated as a duplicate

of an email that does not include content in those fields, even if all remaining content in

the email is identical. When applying global deduplication, metadata identifying all

custodians in possession of each document that is removed as a duplicate must be

provided in the CUSTODIAN metadata field subject to any exceptions provided in this

Stipulation.

       D.      To the extent a Party identifies identical documents where the hash values

do not match as a result of technical issues due to emails being stored in and collected




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from two email environments, the Producing Party can use near duplicate analysis to

remove documents with 100% textual matches.

       E.      Email Thread Suppression: Each Party may deduplicate e-mails in such a

way as to eliminate earlier or incomplete chains of e-mails, and produce the email (as

TIFF or as otherwise required) that contains the most complete iteration of an e-mail

chain — i.e., the produced email contains all previous replies, forwards, and the original

message and all attachments in the whole email family. A Party may, therefore, not

eliminate earlier emails that have attachments not attached to the last email in a chain.

However, a Party may not create a new thread by combining related emails if such emails

are not contained in one already existing email.

       F.      Embedded Objects: Some Microsoft Office and .RTF files may contain

embedded objects. Such objects typically are the following file types: Microsoft Excel,

Word, PowerPoint, Project, Outlook, Access and PDF. Subject to claims of privilege and

immunity, as applicable and when possible, objects with those identified file types shall

be extracted as separate files and shall be produced as attachments to the file in which

they were embedded unless otherwise subject to an exception provided within this

Stipulation.

       G.      Compressed Files: Compressed file types (e.g., .CAB, .GZ, .TAR. .Z, .ZIP)

shall be decompressed in a reiterative manner to ensure that a zip within a zip is

decompressed into the lowest possible compression resulting in individual files.

       H.      Redactions: As described in more detail below, the Producing Party can

redact non-public personally identifiable information and material that is claimed to be


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privileged. If, during the course of discovery, the Parties identify other kinds of

information that any Party has a reasonable basis for redacting, the Parties will meet and

confer regarding it before such redactions are made. If the issue cannot be resolved, the

Parties may seek resolution from the Court.

       I.     No Designation of Discovery Requests: Production of hard copy

documents and ESI in the reasonably usable form set out in this Stipulation need not

include any reference to the requests to which a document or ESI may be responsive.

       J.     Foreign Language Documents: To the extent that documents or ESI are

produced that contain languages other than English, in whole or in part, the Producing

Party shall produce all foreign language document and ESI in the original language.

Documents containing foreign language text must be OCR’d using the appropriate

settings for that language (e.g., OCR of German documents must use settings that

properly capture umlauts and OCR of Asian language documents must properly capture

the relevant Asian characters). The Producing Party has no obligation to provide a

translation of the documents or ESI or any portion thereof.

XI.    Identification and Collection of Documents

       A.     In certain circumstances, it may be necessary for a Party to apply search

terms to custodial ESI in order to identify potentially responsive documents. In such

circumstances, except as otherwise agreed upon in this Stipulation, the Parties will meet

and confer in an effort to agree upon the following:

              1.     List of records custodians;




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              2.      Search methodology to be applied, including, but not limited to,

search terms and date restrictions;

              3.      Location of relevant data sources including custodial and non-

custodial; and

              4.      Applicable timeframe for production of documents.

       B.     The producing party must make reasonable efforts to select and/or propose

custodians who likely possess information and documents responsive to the respective

discovery demands.

       C.     Search Methodology:

              1.      Email and Non-Email: The Parties agree to search for and produce

unique, responsive records from sources of hard copy and ESI to the extent a custodian

reveals that such locations may contain responsive information and such data is within

the possession, custody or control of the Producing Party.

              2.      The mere fact that a document is hit or captured by the application of

any agreed upon search terms does not mean that such document is necessarily

responsive to any propounded discovery request or is otherwise relevant to this litigation.

Determinations of discoverability, responsiveness and privilege shall be made by the

Producing Party.

XII.   Preservation

       A.     The Parties acknowledge that they have an obligation to take reasonable

and proportional steps to preserve discoverable information in the Party’s possession,

custody or control.


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       B.     The Parties agree that the circumstances of this case do not warrant the

preservation, collection, review, or production of the following sources of ESI because

they are either not reasonably accessible or not likely to contain additional relevant

information from other sources whereby the associated burden and costs outweigh any

benefit:

              1.     Data duplicated in any electronic backup system.

              2.     Deleted, shadowed, damaged, residual, slack, fragmented, or other

data only accessible by forensics and “unallocated” space on hard drives.

              3.     Data stored in random access memory (“RAM”), temporary files, or

other ephemeral data that is difficult to preserve without disabling operating systems.

              4.     On-line access data such as temporary internet files, history, cache

files, cookies, and the like, wherever located.

              5.     Data stored on photocopiers, scanners and fax machines.

              6.     Data in metadata fields that are frequently updated automatically,

such as last-opened dates.

              7.     Server, system or network logs.

              8.     Legacy data or data remaining from systems no longer in use that is

unintelligible on the systems in use to the extent such data is duplicative of data on

systems in use.

              9.     Computer programs, operating systems, computer activity logs,

programming notes or instructions, batch files, system files, and miscellaneous files or

file fragments.


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                 10.   Data stored on mobile devices (excluding laptop and notebook

computers) and tablets.

       This section should not be interpreted as limiting a Producing Party’s ability to

identify ESI not listed above as being not reasonably accessible because of undue burden

or cost pursuant to Fed. R. Civ. P. 26(b)(2)(A).

XIII. Privilege and Privilege Logs

       A.        The Parties agree that certain privileged communications or documents

need not be included in a privilege log: (a) communications to or from outside legal

counsel for Defendants; (b) communications from inside counsel, (c) communications to

inside counsel where inside counsel is the only recipient or is related to this litigation, (d)

work product of counsel and parties, (e) any internal communications within a law firm,

(f) any communications regarding litigation holds or preservation, collection, or review in

this or any Litigation, and (g) any communication or document that post-date the filing of

the complaint.

       B.        The Parties agree that redacted documents do not need to be included on the

privilege log.

       C.        In an effort to avoid unnecessary expense and burden associated with

traditional “document by document” privilege logs, the Parties agree that for documents

withheld from production on the basis of attorney-client privilege, work product doctrine

and/or any other applicable privilege, the Producing Party will prepare a summary log

containing for each document (except those exempted above) claimed as privileged, an

export of all or a subset of the metadata fields listed below (as agreed upon by the


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Parties) to the extent such information exists and has not been suppressed or redacted for

privilege. The export should include, at a minimum, the following information from the

top line email:

            • BEGNO (if not produced) or BEGBATES (if produced)
            • ENDNO (if not produced) or ENDBATES (if produced)
            • BEGATTACH (if not produced) or BEGBATESATTACH (if produced)
            • ENDATTACH (if not produced) or ENDBATESATTACH (if produced)
            • NUMBER_OF_ATTACHMENTS
            • CUSTODIAN(S)
            • FROM
            • TO
            • CC
            • BCC
            • SUBJECT
            • SENTDATE
            • RECEIVEDDATE
            • FILENAME
            • FILEXT
            • DOCTYPE
            • AUTHOR
            • CREATEDDATE
            • HASH (MD5 OR SHA-1)
            • REDACTED
            • PRIVILEGED PERSON (only provided if not already identified in other
              metadata fields)
            • PRIV_TYPE (e.g., Attorney-Client; Attorney Work Product)

       D.       The Parties further agree that this summary log satisfies the Producing

Party’s obligations under Federal Rule of Civil Procedure 26(b)(5).

       E.       If the Requesting Party requires further information, it shall explain in

writing the need for such information and identify, by Bates number or other unique

identifier, each document for which it seeks this information. Within thirty (30) days of

such a request, the Producing Party must either (i) provide the requested information or



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(ii) challenge the request. If a Party challenges a request for further information, the

Parties shall meet and confer to try to reach a mutually agreeable solution. If they cannot

agree, the Parties must request a conference with the Court before any motions may be

filed.

         F.       The Parties shall enter into a separate agreement with respect to the logging

of hard-copy privileged documents, to the extent such documents exist.

         G.       Alternatively, or in conjunction with the privilege log protocol herein, the

Producing Party may prepare and identify withheld documents by category through a

categorical log. The categorical log will provide the following fields:

              •   PARENT/MASTER DATE
              •   DOCTYPE
              •   SENDER (FROM/AUTHOR)
              •   RECIPIENTS (TO, CC, BCC)
              •   PRIV_DESCRIPTION (e.g., the category)
              •   PRIV_TYPE (e.g., Attorney-Client; Attorney Work Product)
              •   DOCS_WITHHELD
              •   DOCS_WITHHELD_FAMILY-COMPLETE

XIV. Third Party Documents

         A Party that issues a non-Party subpoena (“Issuing Party”) shall include a copy of

this Stipulation with the subpoena and state that the Parties to the litigation have

requested that third Parties produce documents in accordance with the specifications set

forth herein. The Issuing Party shall produce any documents obtained pursuant to a non-

Party subpoena to the opposing Party. Nothing in this Stipulation is intended or may be

interpreted to narrow, expand, or otherwise affect the rights of the Parties or third Parties

to object to a subpoena.



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XV.    Good Faith

       The Parties shall make their best efforts to comply with and resolve any

differences concerning compliance with this Stipulation. If a Producing Party cannot

comply with any material aspect of this Stipulation, such Party shall inform the

Requesting Party as to why compliance with the Stipulation was unreasonable or not

possible within fourteen (14) calendar days after so learning. No Party may seek relief

from the Court concerning compliance with the Stipulation unless it has conferred with

other affected Parties to the action.

XVI. No Effect on Discovery or Admissibility

       This Stipulation does not address, limit, or determine the relevance,

discoverability, agreement to produce, or admissibility of ESI. The Parties are not

waiving the right to seek any discovery, and the Parties are not waiving any objections to

specific discovery requests. Nothing in this Stipulation shall be interpreted to require

disclosure of materials that a Party contends are not discoverable or are protected from

disclosure by the attorney-client privilege, the work product doctrine, or any other

privilege that may be applicable. Nothing in this Stipulation shall be construed to affect

the admissibility of any document or data. All objections to the admissibility of any

document or data, except as to the authenticity of the documents produced by a Party as

to which that Party stipulates, are preserved and may be asserted at any time.

XVII. Costs and Burden

       All Parties reserve the right to seek shifting or sharing of certain discovery costs,

including vendor and attorney fees, in appropriate circumstances.


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XVIII.        Authenticity

       A document produced in this litigation, with the exception of extracted text files,

shall be presumed to be authentic if offered as evidence against the Party that produced it

unless the Party (a) gave notice at the time of production that the authenticity of the

document may be challenged, including the reasons for such a challenge; or (b) shows

good cause for its failure to give such notice at the time of production.

       When documents produced in accordance with this Stipulation are used in any

proceeding herein, including depositions, hearings, or trial, the image copy of documents

shall be the copy used. This paragraph does not apply to any Federal Rule of Evidence

1006 summary exhibits or summary demonstratives.

XIX. Protective Order

       Nothing in this Stipulation shall be deemed to limit, modify, or override any

provision of the Protective Order.

XX.    Modification

       This Stipulation may be modified by (a) a Stipulated Order of the Parties or (b) an

Order of the Court for good cause shown.



       DATED: August 2, 2024                             s/Douglas L. Micko__________
                                                         DOUGLAS L. MICKO
                                                         United States Magistrate Judge




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                                          The date the document was created.

                                          *Parties acknowledge that the CREATEDATE field may not actually
CREATEDDATE    MM/DD/YYYY                 reflect the date the file was created, due to the ease of change to that field
                                          and the technical definition of the field (e.g., the created date and time
                                          reflects the date when the file was created in that particular location on the
                                          computer or on the other storage device location).


                                          The time the document was created.

                                          *Parties acknowledge that the CREATETIME field may not actually reflect
CREATETIME     HH:MM                      the time the file was created, due to the ease of change to that field and the
                                          technical definition of the field (e.g., the created date and time reflects the
                                          time when the file was created in that particular location on the computer or
                                          on the other storage device location).

LASTMODDATE    MM/DD/YYYY                 The date the document was last modified.
LASTMODTIME    HH:MM                      The time the document was last modified.
RECEIVEDDATE   MM/DD/YYYY                 The date the document was received.
RECEIVEDTIME   HH:MM                      The time the document was received.
TIMEZONE       PST, CST, EST, etc.        The time zone the document was processed in.
PROCESSED
AUTHOR         jsmith                     The author of a document from extracted metadata.

                                          *Parties acknowledge that the Author field may not actually reflect the
                                          author of the document.

LASTEDITEDBY   jsmith                     The name of the last person to edit the document from extracted metadata.




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FROM            Joe Smith <jsmith@email.com> The display name or e-mail of the sender of an e-mail.

TO              Joe Smith <jsmith@email.com>; The display name or e-mail of the recipient(s) of an e-mail.
                tjones@email.com
CC              Joe Smith <jsmith@email.com>; The display name or e-mail of the copyee(s) of an e-mail.
                tjones@email.com
BCC             Joe Smith <jsmith@email.com>; The display name or e-mail of the blind copyee(s) of an e-mail.
                tjones@email.com
SUBJECT                                          The subject line of the e-mail.
DOCTITLE                                         The extracted document title of a document.

                                                 E-mail Importance Flag (0 = Normal, 1 = Low Importance, 2 = High
IMPORTANCE      0 or 1 or 2
                                                 Importance)
CUSTODIAN       John Smith                       The custodian/source of a document.




                John Smith; Tim Jones; Finance   Identifies all custodians who owned a copy of this document prior to
ALLCUSTODIANS
                Department                       deduplication.


ATTACH COUNT    Numeric                          The number of attachments to a document.
FILEEXT         XLS                              The file extension of a document.
FILENAME        Document Name.xls                The file name of a document.
FILESIZE        Numeric                          The file size of a document (including imbedded attachments).
MD5HASH (or                                      The MD5 Hash value or "de-duplication key" assigned to a document.
equivalent)




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 EMAIL                                                   ID used to tie together e-mail threads.
 CONVERSATION
 INDEX
 NATIVELINK             D:\NATIVES\ABC000001.xls         The relative path to a native copy of a document.
 FULLTEXT               D:\TEXT\ABC000001.txt            The path to the full extracted text or OCR of the document. There should
                                                         be a folder on the deliverable, containing a separate text file per
                                                         document. These text files should be named with their corresponding
                                                         bates numbers.

                                                         If the attachment or e-file does not extract any text, then OCR for the
                                                         document should be provided (only to the extent the Producing Party
                                                         OCR’s the document for their own benefit).



** As it relates to the CUSTODIAN metadata field above, the Producing Party reserves the right to produce in multiple
fields (e.g., CUSTODIAN + DUPLICATE CUSTODIAN) since the metadata may already be exported and logged as such.
But the load files and fields produced must be consistent across productions.

** Same is true with all DATE and TIME Fields. These fields can be provided in separate fields or be combined into a
single field as long as the required information is produced in the load file. But the load files and fields produced must be
consistent across productions




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